Case 2:04-cr-20500-.]PI\/| Document 34 Filed 08/23/05 Page 1 of 2 ljage|D 46

 

IN THE UNITED sTATES DISTRICT COUR'I' w BY .___D.c.
FOR THE wEsTERN DISTRICT OF TENNESSEE
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UNITED STATES 0F AMERICA, _(]_EHK 113 pgmpgymm

`_WzD CF -r‘: f-;.~e§M?’HiS
vs. No. 04~20500-Ma

LOVANIA BROWNLEE,

Defendant.

 

ORDER CONDITIONALLY WAIVING APPEARANCE AT REPORT DATE

 

On August 22, 2005, counsel for defendant Lovania Brownles,
filed a motion to waive the appearance of the defendant at the
report date Scheduled on August 26, 2005. For good cause shown,
the motion is granted and the appearance of the defendant is
waived on the condition that counsel file with the court a
written waiver signed by the defendant. Upon its receipt,

counsel shall immediately file the required written waiver.

_;EE:&day of August, 2005.

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SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

It is so ORDERED this

 

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This deferment entered on the docket shee'tB(r;>mp
with R\\le 55 and!or 321b) FRCrP on _f_____Q-S- c/FV

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Notice of Distribution

This notice confirms a copy of the document docketed as number 34 in
case 2:04-CR-20500 Was distributed by faX, mail, or direct printing on
August 26, 2005 to the parties listed.

 

 

David Pritchard

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Honorable Samuel Mays
US DISTRICT COURT

